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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF INDIANA


 In re Subpoena to Ontario Systems, LLC
                                                                         File No.: 19-mc-27
 Matthew Bahr, on behalf of himself and all
 others similarly situated,

             Plaintiff,

 vs.

 State Collection Service, Inc.,

              Defendant.


   REPLY MEMORANDUM OF LAW IN SUPPORT OF STATE COLLECTION
   SERVICE INC.’S MOTION TO TRANSFER TO THE NORTHERN DISTRICT
    OF ILLINOIS, OR, ALTERNATIVELY, TO QUASH OR MODIFY THIRD-
             PARTY SUBPOENA TO ONTARIO SYSTEMS, LLC

                                     INTRODUCTION

        Plaintiff and Ontario both consent to transferring this motion to the Northern

 District of Illinois. Thus, State Collection Service Inc. (“State Collection”) respectfully

 requests that this motion be transferred to the Northern District of Illinois.

        But if the Court opts to retain jurisdiction, the Ontario subpoena should be

 quashed or modified, notwithstanding Plaintiff’s attempt to argue the propriety of his

 procedurally improper, disproportionate, and premature discovery demand to non-party

 Ontario.

        Contrary to Plaintiff’s misguided argument, State Collection does have standing to

 challenge the Ontario subpoena. State Collection does not object to the subpoena on the
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 grounds that it creates an undue burden, but because it seeks information that falls outside

 the scope of discovery under Rule 26 and impermissibly seeks information that is

 premature, confidential, and proprietary.

        Plaintiff’s short shrift arguments on the merits of the subpoena, the timing of

 discovery, and the purported class definition also miss the point. Simply put, Plaintiff’s

 subpoena is a fishing expedition that improperly seeks information far beyond the facts of

 the Bahr Case and to improperly attempt to expand the scope of discovery. Accordingly,

 State Collection respectfully requests the Ontario subpoena be quashed or modified.

                                       ARGUMENT

 I.     THERE IS NO OBJECTION TO TRANSFERRING THIS MOTION TO
        THE NORTHERN DISTRICT OF ILLINOIS.

        Plaintiff consents to transferring this motion to the Northern District of Illinois

 where this proceeding is pending. [Doc. No. 8 at 3.] Likewise, Ontario has represented

 to the undersigned that it will also consent to transfer. Accordingly, transfer is proper

 and this Court need not analyze the issues any further. Fed. R. Civ. P. 45(f).

 II.    ALTERNATIVELY, THE                   ONTARIO      SUBPOENA         SHOULD        BE
        QUASHED OR MODIFIED.

        A.     State Collection has Standing.

        Rule 45(a) specifically requires that notice of a third-party subpoena be given to

 all parties before it is served on a non-party. Fed. R. Civ. P. 45(a)(4). Notice is required

 to provide the other parties with the time and opportunity to interpose objections to a

 third-party subpoena. Fed. R. Civ. P. 45, Advisory Notes to the 2013 Amendments (“The




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 amendments are intended to achieve the original purpose of enabling the other parties to

 object or to serve a subpoena for additional materials.”) (emphasis added).

        Consistent with this reasoning, courts have concluded that a party has standing to

 move to quash a non-party subpoena “if the subpoena infringes upon the movant’s

 legitimate interests.” United States v. Raineri, 670 F.2d 702, 712 (7th Cir. 1982); see

 also Parker v. Four Seasons Hotels, Ltd., 291 F.R.D. 181, 187 (N.D. Ill. 2013) (examples

 of such legitimate interests include “the assertion of work product or attorney-client

 privilege, interference with business relationships, or production of private information

 about the party that may be in the possession of a third party”); HTG Capital Partners,

 LLC v. Doe, No. 15 C 02129, 2015 U.S. Dist. LEXIS 126358, at *9, 2015 WL 5611333

 (N.D. Ill. Sept. 22, 2015) (“Courts have found standing ... even where the Movant’s

 privacy interest is minimal at best.”).

        Moreover,     district   courts    conclude   that   even   if   a     party   lacks

 standing under Rule 45 to challenge certain aspects of a subpoena, the party nonetheless

 may “achieve a similar end under Rule 26” and the motion may be converted to one for a

 protective order. See Mfr. Direct, LLC v. Directbuy, Inc., 2007 WL 496382, at *3 (N.D.

 Ind. Feb. 12, 2007) (concluding that the weight of authority in the Seventh Circuit allows

 a party who lacks standing under Rule 45 to still move for a protective order under Rule

 26); Allstate Ins. Co. v. Electrolux Home Prod., Inc., No. 16-CV-4161, 2017 WL

 5478297, at *2–3 (N.D. Ill. Nov. 15, 2017) (“Therefore, because Plaintiff has standing to

 seek a protective order under Rule 26, the Court will proceed to consider the merits of

 Plaintiff’s motion.”); Hobley v. Chi. Police Commander Burge, 445 F. Supp. 2d 990, 993

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 n.4 (N.D. Ill. 2006) (“Defendants assert that Plaintiffs lack standing to move to quash the

 [non-party] subpoenas . . . [but] [i]t is not necessary to decide that issue, since Plaintiffs

 undoubtedly have standing to seek a protective order under [Rule] 26(c).”); Cusumano v.

 NRB, Inc., 1998 WL 673833, at *4 (N.D. Ill. Sept. 23, 1998) (finding that because

 defendant had sought a protective order under Rule 26 rather than Rule 45, defendant

 had standing to object to a non-party subpoena).

        In addition, a court also has the inherent authority to quash a subpoena sua

 sponte. See Positive Black Talk Inc. v. Cash Money Records, Inc., 394 F.3d 357, 377 (5th

 Cir.2004), abrogated on other grounds by Reed Elsevier, Inc. v. Muchnick, 559 U.S. 154

 (2010) (upholding district court's decision to quash nonparty subpoena where information

 not only available from other sources but already provided); Aslani v. Sparrow Health

 Sys., No. 08 CV 0298, 2010 WL 623673, at *5 (W.D. Mich. Feb. 18, 2010) (“[T]he court

 has the inherent authority on its own initiative to prevent abusive or inappropriate

 discovery practices, and the court approves of the Magistrate's invocation and use of that

 inherent authority [to quash a nonparty subpoena] as an alternative to relying on [the

 defendant's] motion to quash.”); Newcomb v. Principal Mut. Life Ins. Co., No. 07 CV

 0345, 2008 WL 3539520, at *3 (W.D. N.C. Aug. 11, 2008) (“Because defendant is quite

 correct that plaintiff lacks standing to quash the subpoena, the court will quash the

 subpoena upon its own motion and under its inherent authority offer the issuance of

 process from this court inasmuch as such subpoena was issued outside the bounds of Rule

 26(b)(4)(A).”).



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        Here, State Collection is a party to the Bahr Case.        Plaintiff provided State

 Collection notice of the subpoena to non-party Ontario at the same time it was served.

 Pursuant to Rule 45, State Collection timely submitted its objections to the subpoena in

 the form of a motion to quash. In its motion, State Collection objected to the subpoena

 because it is procedurally improper, because it seeks information well beyond the facts

 alleged in the complaint, and because it seeks confidential and proprietary information.

 State Collection’s objections are completely consistent with the kinds of objections that

 may be asserted by a party to a Rule 45 subpoena served upon a non-party.

        Moreover, Plaintiff’s “standing” arguments place form over function. Even if

 there were some question as to State Collection’s standing under Rule 45 (which there is

 not), the substance of State Collection’s objections may be properly considered as a

 “protective order” under Rule 26.

        In short, the Court may consider the proper scope of discovery and the propriety of

 Plaintiff’s subpoena to non-party Ontario on State Collection’s challenge, whether State

 Collection’s motion is treated as a motion to quash or as a motion for protective order (or

 if the Court elects to exercise its inherent authority).

        B.     Plaintiff Attempts to Circumvent Rule 34 with the Ontario Subpoena.

        Plaintiff argues that the Ontario subpoena is proper because “discovery is

 ongoing” and no trial date has been set in the Bahr Case. [Doc. No. 8 at 4.] This

 argument misses the point.        Plaintiff could have (and should have) served State

 Collection with (proportionate) formal discovery requests for the information now sought

 months ago. Plaintiff’s attempt to obtain (disproportionate) discovery from non-party

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 Ontario now is an improper attempt to circumvent his discovery obligations under Rule

 34. Muench Photography, Inc. v. Pearson Educ., Inc., No. 12-CV-01927-WHO, 2013

 WL 12316020, at *2 (N.D. Cal. Aug. 29, 2013); Layman v. Junior Players Golf Acad.,

 Inc., 314 F.R.D. 379, 385 (D.S.C. 2016).

        Plaintiff also attempts to argue that he first learned that State Collection used

 Ontario’s platform when State Collection supplemented its MIDP disclosures on

 February 1, 2019. [Doc. No. 8 at 2, 4.] But that isn’t what happened. State Collection

 disclosed Ontario and produced related information to Plaintiff in its first responses to

 Plaintiff’s interrogatories and document requests on August 24, 2018.                [Second

 Declaration of Patrick D. Newman, Ex. H.]

        In short, Plaintiff should not be permitted to attempt an end-run around the

 discovery rules to seek disproportionate discovery from non-party Ontario.

        C.     Plaintiff Seeks Information Beyond the Scope of the Facts and Claims
               Alleged.

        Plaintiff contends that the discovery is relevant because it is encompassed within

 his attempted, ill-defined class definition. [Doc. No. 8 at 4.] That contention is not based

 on the reality of the facts and claims Plaintiff alleges in the complaint in the Bahr Case.

        Discovery is limited to information proportionate to a party’s claim. Fed. R. Civ.

 P. 26(b)(1). Plaintiff cannot seek discovery of information beyond the facts alleged in the

 complaint.




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        Plaintiff’s complaint does not allege any facts to support the incredibly overbroad

 claimed class definition.1 Indeed, if Plaintiff’s proposed purported “class” definition

 were accepted, it would encompass every person who received “one or more telephone

 calls … using an artificial or prerecorded voice to leave a message,” irrespective of

 whether the calls were made before or after the consumer’s attorney sent a written notice

 of representation to State Collection, or whether the notice of representation effectively

 revoked consent. [Doc. No. 8 at 5; the Bahr Case Doc. No. 1 at 7.] In fact, the purported

 “class” definition fails to account for the issue of consent at all. [Id.]

        Instead, the purported “class” definition exceeds the exceedingly narrow fact

 pattern Plaintiff alleges in the complaint in the Bahr Case (i.e., that Plaintiff’s counsel

 sent a notice of representation to State Collection and State Collection continued to

 attempt contact with Plaintiff directly thereafter). [See the Bahr Case, No. 1:18-cv-

 02910, Doc. No. 1 at ¶¶ 15, 18, 21, 38, 51, 53, N.D. Ill.] The permissible, proportionate

 scope of discovery is therefore limited to information pertaining to this narrow fact

 pattern, notwithstanding the incredibly overbroad, impermissible “class” definition

 Plaintiff proposes in the Bahr Case complaint.

        Accordingly, Plaintiff’s attempted discovery to non-party Ontario regarding every

 contract and agreement, every communication and email, and every data exchange

 between State Collection and Ontario to encompass all contact attempts is improper and



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  Notably, Plaintiff has not pled any claims or facts related to Ontario’s technology in his
 complaint.

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 amounts to an inappropriate fishing expedition. See, e.g., Ossola v. Am. Express Co., No.

 13-cv-4836, 2015 U.S. Dist. LEXIS 117531, at *3 (N.D. Ill. Sep. 3, 2015).

        D.     Plaintiff Seeks Information Prematurely.

        State Collection has already provided responsive information to Plaintiff regarding

 the alleged “class.” Plaintiff’s attempt to obtain information concerning the identities of

 alleged “class” members, as well as information concerning the identities of individuals

 who will never fit within the very narrow scope of Plaintiff’s alleged claim, from non-

 party Ontario is inappropriate at this stage. See Oppenheimer Fund, Inc. v. Sanders, 437

 U.S. 340, 353-54 (1978).

        In short, in the event Plaintiff were to establish all of the predicates of Rule 23

 (which he cannot do based on the facts and claims pled in the complaint and the

 discovery exchanged in the Bahr Case), then he would be entitled to discovery regarding

 the identities of the putative class.    Until then, Plaintiff’s attempt to obtain that

 information from non-party Ontario is premature.

        E.     The Ontario Subpoena Seeks Confidential and Protected Information.

        Plaintiff summarily concludes that the information he seeks from non-party

 Ontario is not protected under the FDCPA. [Doc. No. 8 at 7.] Plaintiff is wrong.

        Ontario is State Collection’s vendor. Any account information State Collection

 provided to Ontario is confidential and proprietary. The same is true of the requested

 correspondence and data exchanges.        Moreover, the account information Plaintiff

 improperly requests from Ontario is protected from disclosure by the FDCPA. See 15

 U.S.C. § 1692c(b).

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        Plaintiff should be precluded from obtaining confidential and protected

 information from Ontario—particularly in light of the disproportionate nature of the

 attempted document requests in the Ontario subpoena. Plaintiff should also be precluded

 from obtaining any information protected from disclosure by the FDCPA unless and until

 a class is certified in the Bahr Case.

        F.     Based on the foregoing, State Collection requests the Court quash or
               modify the Ontario subpoena.

        If the Court elects not to transfer this motion to the Northern District of Illinois,

 State Collection requests the Court quash Plaintiff’s subpoena to non-party Ontario or,

 alternatively, modify the subpoena to remove document requests 4, 6-13, or limit the

 requests to the individuals State Collection has identified in response to Plaintiff’s

 discovery.

                                          CONCLUSION

        For the reasons above, State Collections requests that this Court issue an Order

 transferring this motion to the Northern District of Illinois where the Bahr Case is

 currently pending or, alternatively, issue an Order granting State Collection’s motion to

 quash or modify the Ontario subpoena as described in State Collection’s principal

 memorandum and above.




                            [SIGNATURE BLOCK FOLLOWS]




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                                     BASSFORD REMELE
                                     A Professional Association

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